Case 3:17-cv-00072-NKM-JCH Document 511-6 Filed 07/02/19 Page 1 of 6 Pageid#: 5389




           EXHIBIT 5
Case 3:17-cv-00072-NKM-JCH Document 511-6 Filed 07/02/19 Page 2 of 6 Pageid#: 5390




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

      ELIZABETH SINES, SETH WISPELWEY,
      MARISSA BLAIR, APRIL MUNIZ,
      HANNAH PEARCE, MARCUS MARTIN,
      NATALIE ROMERO, CHELSEA
      ALVARADO, and JOHN DOE,



                            Plaintiffs,
      v.


      JASON KESSLER, RICHARD SPENCER,
      CHRISTOPHER CANTWELL, JAMES
      ALEX FIELDS, JR., VAN GUARD            Civil Action No. 3:17-cv-00072-NKM
      AMERICA, ANDREW ANGLIN,
      MOONBASE HOLDINGS, LLC, ROBERT
      "AZZMADOR" RAY, NATHAN DAMIGO,
      ELLIOT KLINE a/k/a/ ELI MOSLEY,
      IDENTITY EVROPA, MATTHEW
      HEIMBACH, MATTHEW PARROTT a/k/a
      DAVID MATTHEW PARROTT,
      TRADITIONALIST WORKER PARTY,
      MICHAEL HILL, MICHAEL TUBBS,
      LEAGUE OF THE SOUTH, JEFF SCHOEP,
      NATIONAL SOCIALIST MOVEMENT,
      NATIONALIST FRONT, AUGUSTUS SOL
      INVICTUS, FRATERNAL ORDER OF TI-IE
      ALT-KNIGHTS, MICHAEL "ENOCH"
      PEINOVICH, LOYAL WHITE KNIGHTS OF
      THE KU KLUX KLAN, and EAST COAST
      KNIGHTS OF THE KU KLUX KLAN a/k/a
      EAST COAST KNIGHTS OF THE TRUE
      INVISIBLE EMPIRE,




                            Defendants.



                            AFFIDAVIT OF OREN SEGAL
Case 3:17-cv-00072-NKM-JCH Document 511-6 Filed 07/02/19 Page 3 of 6 Pageid#: 5391




            I, Oren Segal, being duly sworn, hereby depose and state the following under penalty of

    perjury:

               I.   l make this affidavit based on personal knowledge.

            2.      I am the Director of the Anti-Defamation League's Center on Extremism ("the

    COE"), which is recognized as a leading authority on extremism, terrorism, and hate of all forms

    in the United States.

            3.      In that capacity, I study extremist activities and trends to help law enforcement

    identify extremists who have crossed the line from merely espousing hateful ideologies to

    actually inciting violence, so as to prevent those extremists from harming others before it is too

    late.

            4.      Each year, the COE provides trainings to tens of thousands of federal, state, and

    local law enforcement officials across a range of agencies, and our Advanced Training School on

    domestic and international terror threats has trained more than I, I 00 law enforcement

    executives.

            5.      For over twenty years, I have developed a particular expertise in online hate and

    incitement, and have worked extensively with the tech industry on their efforts to ensure that

    social media platforms are not exploited to instigate violence and terrorism.

            6.      As Director, I have personally trained numerous law enforcement and industry

    officials, testified before Congress on combating hate, and offered my expertise at various

    conferences including a White House Summit on Countering Violent Extremism.

            7.      Given my background, in June 2019, attorneys from Kaplan Hecker & Fink LLP

    approached me for my opinion on whether they should be concerned about a threatening online

    post from an opposing party in this pending litigation.



                                                     2
Case 3:17-cv-00072-NKM-JCH Document 511-6 Filed 07/02/19 Page 4 of 6 Pageid#: 5392




            8.     Specifically, they informed me of a message dated June 18, 2019, posted by

    Defendant Christopher Cantwell on_the online platform "Telegram."

           9.      I reviewed the message, which referenced a news article about Plaintiffs' attorney

    Roberta Kaplan, including her photograph, and further stated: "After this stupid kike whore loses

    this fraudulent lawsuit we're going to have a lot of fucking fun with her."

            10.    Based on my general study of hate-based threats, and my familiarity with

    Cantwell's specific history of making such statements, I believe that Cantwell's post constitutes

    a deliberately inflammatory threat of violence.

            11.    In my opinion, inflammatory online postings such as this one have a significant

    potential to lead to on-the-ground violence from individuals who read the posts.

            12.    Mr. Cantwell's post reflects a pattern of behavior common among white

    supremacists who are active online, whereby controversial figures (like Mr. Cantwell) call on

    followers to target specific individuals or communities.

            13.    In fact, Mr. Cantwell himself has previously engaged in online threats against

    multiple journalists.

            14.    In some cases, these threats have led his followers to join in on harassment

    campaigns against the targets of Mr. Cantwell's ire.

            15.    I have observed a direct connection between the type of online threat that Mr.

    Cantwell made toward Ms. Kaplan and actual, real world consequences for the targeted

    individuals and communities.

            16.    In the last 25 years of right-wing terrorism, we have seen that roughly half of

    violent incidents have been perpetrated by lone actors.




                                                      3
Case 3:17-cv-00072-NKM-JCH Document 511-6 Filed 07/02/19 Page 5 of 6 Pageid#: 5393




            17.    Messages like Mr. Cantwell's provide online reinforcement and offer specific

    targets for individuals who may hold violent, hateful beliefs and are prepared to act upon them.

            18.    These messages therefore contribute to a white supremacist online echo chamber

    that enables and encourages violence from individuals, even those who are not necessarily

    directly connected to Mr. Cantwell through any official organization.

            19.    While it is not always possible to draw a one-to-one connection between a

    particular act of violence and a specific online threat from an influential actor, such threats

    certainly increase the risk that violence will occur.

           20.     It is also significant that Mr. Cantwell made his post on Telegram, a particular

    social media platform that tends to draw social media users that have been banned from other

    more mainstream social media platforms based on their extremist views.

           21.     Mr. Cantwell has been banned from various other platforms, including "Gab," a

    platform that is notoriously reticent to regulate white supremacist hate and threats, even though it

    has been used by confirmed right-wing terrorists.

           22.     In addition to the threats he has made against Ms. Kaplan and others, Mr.

    Cantwell hosts a podcast called "Radical Agenda," which features discussions between Mr.

    Cantwell and other white supremacists where they call for violence against disfavored

    individuals and communities.

           23.     For instance, on a previous episode of Radical Agenda, fellow white supremacist

    Andrew Auernheimer called for the murder of Jews, stating: "there is only one thing absent free

    speech that we can do to express our dissent and that's to slaughter you like dogs, and you're

    gonna have it coming and your children will deserve to die."




                                                      4
Case 3:17-cv-00072-NKM-JCH Document 511-6 Filed 07/02/19 Page 6 of 6 Pageid#: 5394




                24.     While Mr. Cantwell' s threat might not reach as large of an audience on Telegram

       as on other platforms, his followers, which appear to number in the hundreds, are likely to be

       precisely those individuals who are most dangerously committed to white supremacist ideology

       and capable of violence.

                25.     I believe that in the absence of accountability for Mr. Cantwell, Ms. Kaplan and

       her colleagues will face an increased danger of violence as a result of Mr. Cantwell ' s threatening

       posts.


        Dated: July 2, 2019

                 New York, New York                           Oren Segal




       Sworn to before me this '2-""l day of __J
                                               ~      o_/__,....,,...t_ _ _ _, 2019
                                                          1




                                    Notary public CERTIFICATE OF CONFORMITY

                                                      ' ___ in the year
                On the 7-r-J. day of - ~Jccl--"'.,"'-l'-1'                        "2.-c:::,\'f   , before me, the
                                                7
       undersigned, personally appeared Mr. Oren Segal, personally known to me or proved to me on the

       basis of satisfactory evidence to be the individual whose name is subscribed to the within

       instrument and acknowledged to me that he executed the same in his individual capacity, and that

       by his signature on the instrument, the individual executed the instrument.




   ~            ----- 'A - ,zb--
       Notary p~EN M. FREEMAN
            NOTARY PUBLIC, State of New York
                    No. 02FR4841545
                Qualified in Suffolk County               5
         Commission Expires January 31,-_
                                        i,v~
